Case 1:21-cv-04568-ENV-JRC Document 66-20 Filed 02/14/22 Page 1 of 19 PageID #: 1071




             EXHIBIT # L
Case 1:21-cv-04568-ENV-JRC Document 66-20 Filed 02/14/22 Page 2 of 19 PageID #: 1072

                                                                                                        1


    1    SUPREME COURT OF THE STATE OF NEW YORK
    2    COUNTY OF QUEENS: CRIMINAL TERM, PART K-6
    3    --------------------------------------------------------------------X
    4    THE PEOPLE OF THE STATE OF NEW YORK,                                         Indictment No.
    5               -against-                                                         4521-94
    6    KENNETH PETTY,                                                               PLEA/SENTENCE
    7                                          Defendant.
         --------------------------------------------------------------------X
    8
    9                                                         April 5, 1995
                                                              125-01 Queens Boulevard
   10                                                         Kew Gardens, New York 11415
   11    BEFORE:
   12           HONORABLE ARTHUR J. COOPERMAN,
                                                                                 Justice,
   13
   14    APPEARANCES:
   15    FOR THE PEOPLE:
   16        RICHARD A. BROWN, ESQ.
             District Attorney, Queens County,
   17        BY: Ada           , ESQ.
                 Assistant District Attorney
   18
   19    FOR THE DEFENDANT:
   20         OFFICE OF JANET SABLE, ESQ.
              The Legal Aid Society
   21         120-46 Queens Boulevard
              Kew Gardens, New York 11415
   22         BY: JENNIFER MICHAELSON, ESQ.
   23
   24                                                                 DAWN SPANO,
                                                                      SENIOR COURT REPORTER
   25


                                                                                                       gjn
Case 1:21-cv-04568-ENV-JRC Document 66-20 Filed 02/14/22 Page 3 of 19 PageID #: 1073

                         KENNETH PETTY - Proceedings                              2


    1                THE CLERK:      Case number six on the calendar, indictment 4521
    2          of '94, Kenneth Petty.
    3                Judge, my client has an application.
    4                The People have indicated they're willing to allow the
    5          defendant to re-instate the plea that was taken earlier on this case
    6          and I have spoken to my client and he wishes to do so with the
    7          Court's permission.
    8                THE COURT:      Well we have to go through the allocution and
    9          obtain the facts.
   10                (Whereupon the defendant was sworn by the clerk of the court.)
   11                THE COURT:      What's your name, please?
   12                THE DEFENDANT:       Kenny Petty.
   13                THE COURT:      Do you understand English?
   14                THE DEFENDANT:       Yes.
   15                THE COURT:      Is that your lawyer, Ms. Michaelson, standing next
   16          to you?
   17                THE DEFENDANT:       Yes.
   18                THE COURT:      Did you hear and understand the application and
   19          guilty plea she made to the Court a few moments ago on your behalf
   20          which was that she wishes to -- she said that you wish to re-instate
   21          your guilty plea that you had entered into in this case on November
   22          10, 1994 in which you pleaded guilty to an attempted rape in the
   23          first degree under the first count of the indictment.
   24                Is that what you wish to plead?
   25                THE DEFENDANT:       Yes.


                                                                                gjn
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                         KENNETH PETTY - Proceedings                                 3


    1                THE COURT:       Have you had a full and complete opportunity to
    2          discuss your plea in this case with your lawyer and at the end of
    3          that discussion, did you ask her to make this application for you?
    4                THE DEFENDANT:        Yes.
    5                THE COURT:       Do you now wish to withdraw your prior plea of not
    6          guilty and plead guilty at this time to the charge of attempted rape
    7          in the first degree under the first count of the indictment, a
    8          Class C violent felony, to cover all of the charges against you in
    9          this indictment?
   10                THE DEFENDANT:        Yes, sir.
   11                THE COURT:       Are you pleading guilty because you are in fact
   12          guilty?
   13                THE DEFENDANT:        No.
   14                MS. MICHAELSON:        You cannot take the plea if you're not guilty.
   15                THE DEFENDANT:        Yes.
   16                THE COURT:       What's your answer?
   17                THE DEFENDANT:        Yes.
   18                THE COURT:       Has anybody threatened you, coerced you or forced
   19          you to plead guilty?
   20                THE DEFENDANT:        No.
   21                THE COURT:       Are you pleading guilty voluntarily?
   22                THE DEFENDANT:        Yes.
   23                THE COURT:       Do you understand that you have the constitutional
   24          right to a speedy trial before a jury on these charges and that the
   25          People have the burden of proving these charges beyond a reasonable


                                                                                    gjn
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                         KENNETH PETTY - Proceedings                                  4


    1          doubt to a unanimous jury and that the Court is prepared to begin
    2          that trial shortly if you so desire?
    3                Do you understand that?
    4                THE DEFENDANT:         Yes.
    5                THE COURT:       Do you further understand that if you were to
    6          proceed to trial, you would have the right to confront the witnesses
    7          against you and further, your lawyer will have a full opportunity to
    8          cross-examine these witnesses and you would also have a right to
    9          present witnesses on your own behalf.
   10                Do you understand that?
   11                THE DEFENDANT:         Yes.
   12                THE COURT:       Have you had the opportunity to discuss with your
   13          lawyer any defenses you may have to the charges brought against you?
   14                THE DEFENDANT:         Yes.
   15                THE COURT:       Do you realize that by pleading guilty to --
   16                MS. MICHAELSON:         One second.
   17                You did not discuss the defenses.
   18                THE DEFENDANT:         Like what?
   19                MS. MICHAELSON:         About the trial and how it would go.
   20                THE COURT:       I guess I misheard you on that.
   21                MS. MICHAELSON:         He said no but now he is changing his answer
   22          to yes.
   23                THE COURT:       I'm going to ask that question again: Have you had
   24          the opportunity to discuss with your lawyer any defenses you may
   25          have to the charges brought against you?


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                         KENNETH PETTY - Proceedings                                 5


    1                THE DEFENDANT:       Yes.
    2                THE COURT:      Do you realize by pleading guilty to a felony today
    3          this plea could serve as the basis for increased sentences in the
    4          future should you commit and be convicted of any felony in the
    5          future.
    6                Do you understand that?
    7                THE DEFENDANT:       Yes.
    8                THE COURT:      Also, if you were to proceed to trial, you could
    9          not be compelled to incriminate yourself in any way and that would
   10          include not being compelled to take the stand and testify against
   11          yourself, although you would have the right to take the stand on
   12          your own behalf at the time of the trial if you wish to do so.
   13                Do you understand that?
   14                THE DEFENDANT:       Yes.
   15                THE COURT:      Do you now wish to waive all of these rights and
   16          plead guilty to the charge of attempted rape in the first degree?
   17                THE DEFENDANT:       Yes.
   18                THE COURT:      Do you understand that if your guilty plea is
   19          acceptable to the Court, it is the same as if you had a trial and
   20          were found guilty?
   21                THE DEFENDANT:       Yes.
   22                THE COURT:      Did your lawyer tell you there was a discussion
   23          among the attorneys and the Court concerning the possible
   24          disposition and sentence in this case?
   25                THE DEFENDANT:       Yes.


                                                                                   gjn
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                        KENNETH PETTY - Proceedings                                6


    1                THE COURT:     Did she further tell you that the Court indicated
    2          that it would give favorable consideration of imposing a sentence of
    3          incarceration of not less than one and a half and no more than four
    4          and a half years if after reading the probation report that such
    5          sentence would be in the interest of justice?
    6                THE DEFENDANT:       Yes.
    7                THE COURT:     Did your lawyer also tell you if after reading the
    8          probation report the Court comes to the conclusion that the interest
    9          of justice requires that you be given a longer sentence, then you
   10          will be given the choice of accepting that longer sentence or
   11          withdrawing this plea of guilt without prejudice. That's if the
   12          Court cannot keep the promise with respect to the sentence, you can
   13          make your plea and go on trial.
   14                Do you understand all of that?
   15                THE DEFENDANT:       Yes.
   16                THE COURT:     Has anybody made any promises other than what I
   17          have told you?
   18                THE DEFENDANT:       No.
   19                THE COURT:     Do you still wish to plead guilty?
   20                THE DEFENDANT:       Yes.
   21                THE COURT:     By pleading guilty, are you admitting that on or
   22          about September 16, 1994 in the County of Queens, being male, you
   23          attempted to engage in sexual intercourse with Jennifer Haugh,
   24          H-A-U-G-H, a female, by means of forcible compulsion.
   25                Is that correct?


                                                                                  gjn
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                        KENNETH PETTY - Proceedings                                  7


    1                THE DEFENDANT:       Yes.
    2                THE COURT:      Where did this take place?
    3                THE DEFENDANT:       123-40 Elm Street.
    4                THE COURT:      Is that in the County of Queens?
    5                THE DEFENDANT:       Yes.
    6                THE COURT:      And what is located at that address?
    7                THE DEFENDANT:       My grandmother's house.
    8                THE COURT:      Your grandmother's house?
    9                THE DEFENDANT:       Yes.
   10                THE COURT:      And were you there at that time with Jennifer
   11          Haugh?
   12                THE DEFENDANT:       Yes.
   13                THE COURT:      And did you attempt to engage in sexual intercourse
   14          with her by force at that time?
   15                THE DEFENDANT:       No -- yes.
   16                THE COURT:      Counsel, would you step up, please?
   17                (Whereupon a discussion was held between all counsel and the Court
   18          off the record at side-bar.)
   19                MS. MICHAELSON:          All right. Judge --
   20                THE COURT:      As I indicated to counsel, I wish to go over this
   21          again because I wasn't satisfied with the taking of a plea of guilt
   22          to the crime and I'm going to give the defendant an opportunity to
   23          respond to my questions again. The Court can ascertain whether the
   24          defendant is pleading guilty or not.
   25                What's your name, please?


                                                                                  gjn
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                         KENNETH PETTY - Proceedings                                  8


    1                THE DEFENDANT:       Kenneth Petty.
    2                THE COURT:      Do you understand English?
    3                THE DEFENDANT:       Yes.
    4                THE COURT:      Is that your lawyer, Ms. Michaelson, standing next
    5          to you?
    6                THE DEFENDANT:       Yes.
    7                THE COURT:      Did you hear and understand the application and
    8          guilty plea she made to the Court a few moments ago on your behalf?
    9                THE DEFENDANT:       Yes.
   10                THE COURT:      Have you had a full and complete opportunity to
   11          discuss your plea in this case with your lawyer?
   12                THE DEFENDANT:       Yes.
   13                THE COURT:      And at the end of that discussion, did you ask her
   14          to make this application for you?
   15                THE DEFENDANT:       Yes.
   16                THE COURT:      Do you now wish to withdraw your prior plea of
   17          not guilty and plead guilty at this time to the charge of attempted
   18          rape in the first degree under the first count of the indictment, a
   19          Class C violent felony, to cover all the charges against you in this
   20          indictment?
   21                THE DEFENDANT:       Yes.
   22                THE COURT:      Are you pleading guilty because you are in fact
   23          guilty?
   24                THE DEFENDANT:       Yes.
   25                THE COURT:      Has anybody threatened you, coerced you or forced


                                                                                  gjn
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                                    1080
                       KENNETH PETTY - Proceedings                                9


  1          you to plead guilty?
  2                THE DEFENDANT:         No.
  3                THE COURT:       Are you pleading guilty voluntarily?
  4                THE DEFENDANT:         Yes.
  5                THE COURT:       Do you understand you have a constitutional right
  6          to a speedy trial before a jury on the charges and that the People
  7          have the burden of proving these charges beyond a reasonable doubt
  8          to a unanimous jury and that the Court is prepared to give you that
  9          trial shortly if you so desire?
 10                Do you understand that?
 11                THE DEFENDANT:         Yes.
 12                THE COURT:       Do you further understand that if you were to
 13          proceed to trial, you would have the right to confront the witnesses
 14          against you and further, your lawyer will have a full opportunity to
 15          cross-examine these witnesses and you would also have the right to
 16          present witnesses in your own behalf.
 17                Do you understand that?
 18                THE DEFENDANT:         Yes.
 19                THE COURT:       Have you had the opportunity to discuss with your
 20          lawyer any defenses you may have to the charges brought against you?
 21                THE DEFENDANT:         Yes.
 22                THE COURT:       Do you realize that by pleading guilty to a felony
 23          today this plea could serve as the basis for increased sentence in
 24          the future should you commit and be convicted of any felony in the
 25          future?


                                                                                gjn
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                                    1081
                       KENNETH PETTY - Proceedings                                 10


  1                THE DEFENDANT:         Yes.
  2                THE COURT:       Also, if you were to proceed to trial, you could
  3          not be compelled to incriminate yourself in any way and that would
  4          include not being compelled to take the stand and testify against
  5          yourself although you would have the right to take the stand on your
  6          own behalf at the time of trial if you wish to do so.
  7                Do you understand all of that?
  8                THE DEFENDANT:         Yes.
  9                THE COURT:       Do you now wish to waive all of these rights and
 10          plead guilty to the charge of attempted rape in the first degree?
 11                THE DEFENDANT:         Yes.
 12                THE COURT:       Do you understand if your guilty plea is acceptable
 13          to the Court it is the same as if you had a trial and were found
 14          guilty?
 15                THE DEFENDANT:         Yes.
 16                THE COURT:       Did your lawyer tell you that there was a
 17          discussion among the attorneys and the Court concerning the possible
 18          disposition and sentencing in this case?
 19                THE DEFENDANT:         Yes.
 20                THE COURT:       Did she further tell you that the Court indicated
 21          that it would give favorable consideration of imposing a sentence of
 22          incarceration of not less than one and a half and no more than four
 23          and a half years if after reading the probation report the Court is
 24          of the opinion that such sentence would be in the interest of
 25          justice, did she tell you that?


                                                                                 gjn
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                                    1082
                      KENNETH PETTY - Proceedings                                  11


  1                THE DEFENDANT:         Yes.
  2                THE COURT:        Did your lawyer also tell you if after reading the
  3          probation report the Court comes to the conclusion that the interest
  4          of justice that you be given a longer sentence, then you will be
  5          given a choice of accepting that longer sentence or withdrawing this
  6          plea of guilt without prejudice, that's that the Court cannot keep
  7          its promise with respect to the sentence, you can take back your
  8          plea and go on trial.
  9                Do you understand that, all of that?
 10                THE DEFENDANT:         Yes.
 11                THE COURT:        Has anybody made any promises other than what
 12          I have told you?
 13                THE DEFENDANT:         Yes -- no.
 14                THE COURT:        Just so the record is clear, has anybody made any
 15          promises other than what I have told you?
 16                THE DEFENDANT:         No.
 17                THE COURT:        You still wish to plead guilty?
 18                THE DEFENDANT:         Yes.
 19                THE COURT:        By pleading guilty, are you admitting that on or
 20          about September 16, 1994 in the County of Queens, being a male, you
 21          attempted to engage in sexual intercourse with Jennifer Haugh, a
 22          female, by the means of forcible compulsion; is that correct?
 23                THE DEFENDANT:         Yes.
 24                THE COURT:        Now where did that take place?
 25                THE DEFENDANT:         123-40 Elm Street.


                                                                                  gjn
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                      KENNETH PETTY - Proceedings                           12


  1                THE COURT:     What's located at that address?
  2                THE DEFENDANT:      My grandmother's house.
  3                THE COURT:     And were you there with --
  4                THE DEFENDANT:      My grandmother.
  5                THE COURT:     And --
  6                THE DEFENDANT:      Jennifer.
  7                THE COURT:     Were you in a room alone with her?
  8                THE DEFENDANT:      Yes.
  9                THE COURT:     What did you attempt to do on that occasion?
 10                THE DEFENDANT:      I attempted to rape her.
 11                THE COURT:     And how did you attempt to do that?
 12                THE DEFENDANT:      By having sex with her.
 13                THE COURT:     Okay. Well you just told me that you attempted to
 14          have sexual intercourse with her by means of forcible compulsion.
 15                And could you tell me what it is that you did that you
 16          attempted to do that involved force on your part?
 17                THE DEFENDANT:      I grabbed her and thrown her on to the bed
 18          and tried to rape her.
 19                THE COURT:     How tall are you?
 20                THE DEFENDANT:      Six-one.
 21                THE COURT:     How tall was she at the time?
 22                THE DEFENDANT:      I don't know.
 23                THE COURT:     Well are you bigger than she is?
 24                THE DEFENDANT:      Yes.
 25                THE COURT:     Heavier than she is?


                                                                            gjn
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                       KENNETH PETTY - Proceedings                            13


  1                THE DEFENDANT:         No.
  2                THE COURT:       About the same weight?
  3                THE DEFENDANT:         Yes.
  4                THE COURT:       You say you grabbed her with your hands or arms?
  5                THE DEFENDANT:         Yes.
  6                THE COURT:       What part of your body did you grab her with?
  7                THE DEFENDANT:         With my hands.
  8                THE COURT:       You grabbed her arms?
  9                THE DEFENDANT:         Yes.
 10                THE COURT:       You threw her down?
 11                THE DEFENDANT:         Yes.
 12                THE COURT:       And you got on top of her?
 13                THE DEFENDANT:         Yes.
 14                THE COURT:       All right.
 15                SNAO:     Do you remember when you were interviewed by the
 16          assistant district attorney the day that you were arrested?
 17                THE DEFENDANT:         Yes.
 18                SNAO:     You signed a form, allowing the police to go into your
 19          house?
 20                THE DEFENDANT:         Yes.
 21                SNAO:     And on that form it said that they were allowed to look
 22          for a knife, a long knife?
 23                THE DEFENDANT:         Yes.
 24                SNAO:     Did you hold that long knife when you had Jennifer Haugh
 25          in the bedroom with you?


                                                                             gjn
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                        KENNETH PETTY - Proceedings                             14


  1                THE DEFENDANT:       Yes.
  2                SNAO:     Did you use that when you tried to throw her down on to
  3          the bed?
  4                THE DEFENDANT:       Yes.
  5                SNAO:     All in the room?
  6                THE DEFENDANT:       Yes.
  7                THE COURT:     Is there a waiver?
  8                SNAO:     Your Honor, I filled out a waiver and I'm handing it
  9          over to the defense counsel. (Handing.)
 10                MS. MICHAELSON:       Judge, I'm handing up a Waiver of Appeal
 11          signed by myself and the defendant.
 12                THE COURT:     Okay. All right. Mr. Petty, do you understand in
 13          every case the defendant has a right to appeal?
 14                THE DEFENDANT:       Yes.
 15                THE COURT:     In this case you're waiving your right to appeal?
 16                THE DEFENDANT:       Yes.
 17                THE COURT:     Have you discussed this with your attorney?
 18                THE DEFENDANT:       Yes.
 19                THE COURT:     Has anybody threatened you, coerced you or forced
 20          you to waive your right to appeal?
 21                THE DEFENDANT:       No.
 22                THE COURT:     Do you do so voluntarily?
 23                THE DEFENDANT:       Yes.
 24                THE COURT:     Do you understand by waiving your right to appeal
 25          you waive your right to appeal from the judgment of conviction


                                                                               gjn
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                      KENNETH PETTY - Proceedings                                  15


  1          herein and it's including but not limited to any decision by this
  2          Court on any motion and also waives your right to appeal from this
  3          sentence in this case.
  4                Do you understand that?
  5                THE DEFENDANT:       Yes.
  6                THE COURT:      Is that what you wish to do?
  7                THE DEFENDANT:       Yes.
  8                THE COURT:      Do you understand by waiving your right to appeal
  9          you waive your right to have somebody appointed to represent you in
 10          an Appellate Court in the event that you can not afford an attorney
 11          for that purpose and that purpose would have submitted a brief or
 12          argued in your behalf before the Appellate Court on any of the
 13          issues relating to your conviction and sentence, but by waiving your
 14          right to appeal you waive your right to have that happen.
 15                Do you understand that?
 16                THE DEFENDANT:       Yes.
 17                THE COURT:      The defendant has executed a waiver of the right to
 18          appeal form. His attorney has signed it, this Court is affixing his
 19          signature as well.
 20                This will remain in the file pending sentence in this case and
 21          the Court will accept the plea.
 22                MS. MICHAELSON:        Judge, we have the probation report. We ask
 23          that the sentence be imposed now.
 24                THE COURT:      We do have a probation report in this case. The
 25          defendant has been incarcerated since this report so that I do not


                                                                                   gjn
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                      KENNETH PETTY - Proceedings                                  16


  1          believe another report is necessary.
  2                Does the defendant waive any -- do the People wish to be heard
  3          on the sentence?
  4                SNAO:       Your Honor, the sentence -- this case has been
  5          conferenced quite frequently during the course of the pendency, your
  6          Honor, the People would rely upon the imposition of the intended
  7          sentence.
  8                MS. MICHAELSON:         Judge, I would ask that you consider waiving
  9          the mandatory surcharge in light of the defendant's age and
 10          indigency. He is being represented by Legal Aid.
 11                THE COURT:       Mr. Petty, do you have anything to say on your own
 12          behalf before you're sentenced?
 13                THE DEFENDANT:         No.
 14                THE COURT:       After reading the probation report and taking into
 15          consideration the statements made before me today and all the facts
 16          and circumstances therein, the Court renders the following sentence:
 17          It is the judgment of the Court that he be sentenced as follows:
 18          Attempted rape in the first degree, a Class C violent felony, to an
 19          indeterminate term of imprisonment of no less than one and a half
 20          years and no more than four and a half years.
 21                And there's a $150 mandatory surcharge and a $5 crime victim
 22          assistance fee.
 23                I appreciate your application, however, under the
 24          circumstances, the application is premature. Inmate's funds is the
 25          appropriate manner in lieu of incarceration in view of the


                                                                                gjn
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                        KENNETH PETTY - Proceedings                                   17


  1          incarceration for this matter.
  2                 MS. MICHAELSON:             Judge, I'm going to ask that you not go into
  3          the surcharge, that you allow the parents to pay the surcharge, give
  4          them a month's time to pay it and not take it from inmate's funds.
  5                 THE COURT:         The problem there is if it's not paid within that
  6          time I have no jurisdiction over the parents, I only have
  7          jurisdiction over him and if it doesn't get paid, if he gets paid --
  8                 MS. MICHAELSON:             Do you want to --
  9                 THE COURT:         We can change that requirement.
 10                 MS. MICHAELSON:             Can you change it from -- give the parents a
 11          month to pay it and if they don't pay it then change it to inmate
 12          funds?
 13                 THE COURT:         I prefer to say inmate funds and if it's paid we
 14          can give that information to Corrections so that it's not taken out.
 15          If it's been paid if it's been --
 16                 MS. MICHAELSON:             Maybe I will have her send it to his inmate's
 17          funds, can't you do that?
 18                 THE COURT:         See if it's paid. If it's paid.
 19                 MS. MICHAELSON:             Thank you.
 20                        *       *        *       *      *
 21          CERTIFIED TO BE A TRUE AND ACCURATE TRANSCRIPT OF
             THE ORIGINAL STENOGRAPHIC MINUTES TAKEN OF THIS
 22          PROCEEDING BY DAWN SPANO.
 23
 24                            __________________________
                                   GAIL J. NEUFELD, RPR
 25                                Official Court Reporter


                                                                                     gjn
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                                    1089




                                                           GAIL J. NEUFELD, RPR
                                                          Official Court Reporter
                                                        Supreme Court, Queens County
                                                          125-01 Queens Boulevard
                                                           Kew Gardens, NY 11415
                                                                  718-298-1544
                                                            GNeufeld@NYCourts.gov


                                                                     Date: January 27, 2022


                                                                              INVOICE


       TO:        TYRONE BLACKBURN, ESQ.
                  tblackburn@tablackburnlaw.com

       For the stenographic transcript on the case of:


       PEOPLE V. KENNETH PETTY
       INDICTMENT NO. 4521-94
       SUPREME COURT, PART K-6
       BEFORE THE HON. ARTHUR J. COOPERMAN
       DATE(S):                       April 5, 1995




                                                               AMOUNT DUE: $ 102.00
       Payable by Cash, check, Zelle, Venmo or PayPal: gaili@aol.com (please do not add note
       in memo, pay to "friends and family." Thank you!)
